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                  UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOSEPH and SUZANNE HARPER, :                  CIVIL NO.: 1:15-CV-107
                                 :
            Plaintiffs,          :
                                 :
      v.                         :            (Magistrate Judge Schwab)
                                 :
AMERICAN STATES INSURANCE :
COMPANY, d/b/a Safeco Insurance, :
A Liberty Mutual Company         :
                                 :
            Defendant.           :


                                     ORDER
                                    April 8, 2016

      Given that the parties have reached a settlement, IT IS ORDERED that this

action is dismissed without costs and without prejudice to the right of either party,

upon good cause shown, to reinstate the action within 60 days if the settlement is not

consummated.




                                              S/Susan E. Schwab
                                              Susan E. Schwab
                                              United States Magistrate Judge
